Case 2:05-cv-02480-JDT-STA Document"$ Filed 08/09/05 Page 1 0;?4£ Page|D 22
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IN THE UNITED STATES DISTRICT COURT @`3 O~~ -
WESTERN DISTRICT OF TENNESSEE _ ply / ~C?

,/1 /»,_

EASTERN DIVISION

 

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DOROTHY A. STEELE,
Plaintiff,

v. No. 05-2480 '~1' / pm
ESTATE OF THOMAS DICKERSON, II,
As Employee/Agent Greyhound Lines, Inc.,
And GREYHOUND LINES, INC., and
ALEX YU CHANG, As Employee/Agent
of COASTAL GROUP CORPORATION
and TRANS USA CORPORATION,

\_/\_/\-¢"¢`\_¢\-/\-/\-/V\-/\¢/W\_/V

Defendants.

AGREED ORDER

lt appears to the Court by the signature of counsel for the parties that agreement has been
reached in this matter, said agreement being that this case should be transferred to the Eastern
Division of the Western District of Tennessee where three other cases are pending arising out of
the same accident It appears to the Court that for purposes of judicial economy, simpler
administration of the cases, and coordination of discovery, this case should be transferred to the
Eastem Division of this District.

It is therefore 0 RDERED that this c ase is h ereby transferred from this C ourt to the
Eastern Division of the Western District of Tennessee and the scheduling conference set for
August 18, 2005, in this Court is cancelled

QZ,MQ>.QM/L

UNIT STATES DISTRICT COURT IUDGE
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Thls document entered on the docket sheet ln compliance

Case 2:05-cv-O2480-.]DT-STA Document 8 Filed 08/09/05 Page 2 of 4 Page|D 23

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02480 Was distributed by faX, mail, or direct printing on
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Honorable .1 ames Todd
US DISTRICT COURT

